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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,
                                                       Case: 1:10-cv-00139-RMC
                        Plaintiffs,                    Assigned to: Collyer, Rosemary M.
                                                       Assign. Date: 1/25/2010
          v.                                           Description: Antitrust

TICKETMASTER ENTERTAINMENT,
INC., and LIVE NATION
ENTERTAINMENT, INC.,

                        Defendants.



                                       AMENDED FINAL JUDGMENT

          WHEREAS, plaintiffs, United States of America, and the States of Arizona, Arkansas,

California, Florida, Illinois, Iowa, Louisiana, Nebraska, Nevada, Ohio, Oregon, Rhode Island,

Tennessee, Texas, and Wisconsin, and the Commonwealths of Massachusetts and Pennsylvania

(“Plaintiff States”) filed their Complaint on January 25, 2010, and whereas the States of New

Jersey and Washington joined as Plaintiff States pursuant to an Amended Complaint filed

January 28, 2010, the United States, Plaintiff States, and defendants, Ticketmaster

Entertainment, Inc. and Live Nation, Inc., by their respective attorneys, consented to the entry of

the Final Judgment without trial or adjudication of any issue of fact or law, and without this Final

Judgment constituting any evidence against or admission by any party regarding any issue of fact

or law;

          AND WHEREAS, the United States, Plaintiff States and Defendants have consented to

the entry of this Amended Final Judgment;




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         AND WHEREAS, defendants agree to be bound by the provisions of this Amended Final

Judgment pending its approval by the Court;

         AND WHEREAS, the essence of this Amended Final Judgment is the prompt and certain

divestiture of certain rights or assets by the defendants and the imposition of certain conduct

restrictions on defendants, to assure that competition is not substantially lessened;

         AND WHEREAS, the United States requires defendants to make certain divestitures for

the purpose of remedying the loss of competition alleged in the Complaint;

         AND WHEREAS, defendants have represented to the United States that the divestitures

required below can and will be made and that defendants will later raise no claim of hardship or

difficulty as grounds for asking the Court to modify any of the divestiture provisions contained

below;

         NOW THEREFORE, before any testimony is taken, without trial or adjudication of any

issue of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED AND

DECREED:

                                            I. Jurisdiction

         This Court has jurisdiction over the subject matter of and each of the parties to this

action. The Complaint states a claim upon which relief may be granted against defendants under

Section 7 of the Clayton Act, as amended (15 U.S.C. § 18).

                                            II. Definitions

         As used in this Amended Final Judgment:

         A.     “AEG” means Anschutz Entertainment Group, Inc., a company with its

headquarters in Los Angeles, California, its successors and assigns, and its subsidiaries,




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divisions, groups, affiliates, partnerships, and joint ventures, and their directors, officers,

managers, agents, and employees.

        B.      “Acquirer” or “Acquirers” means the entity or entities to whom defendants divest

the Divestiture Assets.

        C.      “Client Ticketing Data” means financial data relating to a ticketing client’s events

including on-sale dates for a client’s events, the number of tickets sold for the specific event, the

proceeds from those sales for a specific event, ticket inventory that is made available on the

Ticketmaster system, the number and location of tickets that are sold, the amount for which the

tickets are sold, pricing, marketing and promotions run for the event, the sales as a result of the

marketing or promotions, and the status of the ticket inventory. “Client ticketing data” does not

include data that Defendants collect through other means (e.g., website tracking, user group

surveys, public sources). Client Ticketing Data does not include data that is made public by a

client or third party.

        D.      “Comcast-Spectacor” means Comcast-Spectacor, L.P., a company with its

headquarters in Philadelphia, Pennsylvania, its successors and assigns, and its subsidiaries,

divisions, groups, affiliates, partnerships, and joint ventures, and their directors, officers,

managers, agents, and employees.

        E.      “Condition” means to explicitly or practically require buyers to take one product

or set of services if they want to obtain a second product or set of services. In the absence of

explicit conditioning, providing the buyer with an opportunity to buy the two products or sets of

services separately is only conditioning if no reasonable buyer would be expected to accept the

terms of the separate offers.




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        F.       “Covered Employee” means any employee of Defendants whose principal job

responsibility involves the operation or day-to-day management of Defendants’ venues, concert

promotions, or artist management services.

        G.       “Defendants” means either defendant acting individually or both defendants

acting collectively, as appropriate. Where the Amended Final Judgment imposes an obligation to

engage in or refrain from engaging in certain conduct, that obligation shall apply as broadly as

reasonable to each defendant individually, both defendants acting together, and the merged firm.

        H.       “Divestiture Assets” means the Ticketmaster Host Platform (via the binding

agreement to license and to provide private label ticketing services to the Ticketmaster Host

Platform Acquirer as required in Section IV.A) and Paciolan.

        I.       “Exempted Employee” means any employee of Defendants who is not a Covered

Employee, including: (a) any senior corporate officer, director or manager with responsibilities

that include oversight of Defendants provision of Primary Ticketing Services; and (b) any

employee whose primary responsibilities solely include accounting, human resources, legal,

information systems, and/or finance.

        J.       “Live Entertainment Event” means a live music concert for which tickets are sold

to the public.

        K.       “Live Nation” means defendant Live Nation, Inc., a Delaware corporation with its

headquarters in Beverly Hills, California, its successors and assigns, and its subsidiaries (whether

partially or wholly owned), divisions, groups, affiliates, partnerships, and joint ventures, and

their directors, officers, managers, agents, and employees.

        L.       “Merger” means the merger of Ticketmaster and Live Nation.




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       M.      “Paciolan” means Paciolan, Inc., a Delaware corporation which is engaged in the

provision of ticketing services to venues or other organizations under the Paciolan or

Ticketmaster Irvine names, and which includes:

               1.     All tangible assets that comprise the Paciolan line of business, including

                      servers and other computer hardware; research and development activities;

                      all fixed assets, personal property, inventory, office furniture, materials,

                      supplies, and other tangible property and all assets used exclusively in

                      connection with Paciolan; all licenses, permits and authorizations issued

                      by any governmental organization relating to Paciolan; all contracts,

                      teaming arrangements, agreements, leases (including the lease to the

                      Paciolan headquarters in Irvine, California), commitments, certifications,

                      and understandings, relating to Paciolan, including supply agreements; all

                      customer lists, contracts, accounts, and credit records; all repair and

                      performance records and all other records relating to Paciolan;

               2.     All intangible assets used in the development, distribution, production,

                      servicing and sale of Paciolan, including, but not limited to, all patents,

                      contractual rights (including contractual rights to provide ticketing

                      services and employment contracts), licenses and sublicenses, intellectual

                      property, copyrights, trademarks, trade names, service marks, service

                      names, technical information, computer software and related

                      documentation, know-how, trade secrets, drawings, blueprints, designs,

                      design protocols, specifications for materials, specifications for parts and

                      devices, safety procedures for the handling of materials and substances, all



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                       research data concerning historic and current research and development

                       relating to Paciolan, quality assurance and control procedures, design tools

                       and simulation capability, all manuals and technical information

                       defendants provide to their own employees, customers, suppliers, agents

                       or licensees, and all research data concerning historic and current research

                       and development efforts relating to Paciolan, including, but not limited to,

                       designs of experiments, and the results of successful and unsuccessful

                       designs and experiments. Preexisting commitments to transfer contractual

                       rights from Paciolan to another entity that are specifically identified in the

                       Paciolan sales agreement are excluded from this definition.

       N.      “Paciolan Acquirer” means the entity to whom defendants divest Paciolan.

       O.      “Primary Ticketing Services” means a collection of services provided to venues

or other customers to enable the initial sale of tickets for live entertainment events directly to

customers and enable the validation of tickets at the venue to control access to the event.

       P.      “Provide Live Entertainment Events” and “Provision of Live Entertainment

Events” mean to supply a Live Entertainment Event, Live Entertainment Events and/or services

reasonably necessary to plan, promote, market and settle a Live Entertainment Event, including

but not limited to concert promotion services provided by firms such as Live Nation and the

provision of artists managed by firms such as Front Line. The Promotion of Live Entertainment

Events specifically does not include the provision of primary ticketing services, venue

management services and/or tour design and construction services.

       Q.      “Retaliate” means refusing to Provide Live Entertainment Events to a Venue

Owner, or Providing Live Entertainment Events to a Venue Owner on less favorable terms, for



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the purpose of punishing or disciplining a Venue Owner because the Venue Owner has

contracted or is contemplating contracting with a company other than Defendants for Primary

Ticketing Services. The term “Retaliate” does not mean pursuing a more advantageous deal with

a competing Venue Owner.

       R.      “Ticket Buyer Data” means non-public identifying information for ticket buyers

for a specific event (including, if provided, the buyer’s name, phone number, e-mail address, and

mailing address) that Defendants collect in the course of providing a ticketing client’s Primary

Ticketing Services. Ticket Buyer Data does not include data that Defendants collect solely

through other means (e.g., website tracking, user group surveys, public sources).

       S.      “Ticketmaster” means defendant Ticketmaster Entertainment, Inc., a Delaware

corporation with its headquarters in West Hollywood, California, its successors and assigns, and

its subsidiaries (whether partially or wholly owned), divisions, groups, affiliates, partnerships,

and joint ventures, and their directors, officers, managers, agents, and employees.

       T.      “Ticketmaster Host Platform” means the primary Ticketmaster software used by

Ticketmaster to sell primary tickets in the United States. The Ticketmaster Host Platform

includes the following software: Ticketmaster Classic Ticketing System (also called

Ticketmaster Host); Ticketmaster.com full website package; Access Management; payment

processing and settlements; and PCI point of sale system (for phone and outlets).

       U.      “Ticketmaster Host Platform Acquirer” means AEG, the entity with whom

defendants will enter into a binding agreement to license the Ticketmaster Host Platform.

       V.      “Venue Owner” means a person or company that owns, operates, or manages one

or more venues that host Live Entertainment Events.




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          W.    “Management” means all directors and officers of Defendants, or any other

employee with management or supervisory responsibilities for Defendants’ business or

operations related to negotiating the provision of Primary Ticketing Services or the Provision of

Live Entertainment Events.

          Z.   “Relevant Employees” means Defendants’ employees with responsibility for

negotiating the provision of Primary Ticketing Services or the Provision of Live Entertainment

Events.

                                         III. Applicability

          A.   This Amended Final Judgment applies to Ticketmaster and Live Nation, as

defined above, and all other persons in active concert or participation with any of them who

receive actual notice of this Amended Final Judgment by personal service or otherwise.

          B.   If, prior to complying with Sections IV and V of this Amended Final Judgment,

Defendants sell or otherwise dispose of all or substantially all of their assets or of lesser business

units that include the Divestiture Assets, they shall require the purchaser to be bound by the

provisions of this Amended Final Judgment. Defendants need not obtain such an agreement from

the Acquirers of the assets divested pursuant to this Amended Final Judgment.

                                           IV. Divestiture

          A.   Defendants are ordered and directed not to consummate the Merger until they

have entered into a binding agreement to license the Ticketmaster Host Platform to the

Ticketmaster Host Platform Acquirer and to provide private label ticketing services to the

Ticketmaster Host Platform Acquirer in a manner consistent with this Amended Final Judgment

and with the following terms and conditions:




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       1.    The agreement shall include the option, exercisable at the discretion of the

             Ticketmaster Host Platform Acquirer, to acquire a non-exclusive,

             perpetual, fully-paid up license to the Ticketmaster Host Platform. The

             license shall include a copy of the source code of the Ticketmaster Host

             Platform and shall permit the Ticketmaster Host Platform Acquirer to

             modify the software in any manner without limitation and without any

             requirement to license back any improvements to Defendants. If the option

             is exercised, Defendants shall promptly begin the installation of a fully

             functional ticketing system and website in the facilities of the

             Ticketmaster Host Platform Acquirer and shall complete the installation

             within a reasonable time pursuant to a schedule subject to approval by the

             United States, after consultation with Plaintiff States. Defendants shall

             warrant that the system is current as of the time of installation and

             operational for use in providing Primary Ticketing Services. Defendants

             shall provide reasonable training and support to enable the Ticketmaster

             Host Platform Acquirer to operate the software and to understand the

             source code so that it can make independent changes to the code. The

             license shall permit the Ticketmaster Host Platform Acquirer to transfer

             the license following the complete installation of the Ticketmaster Host

             Platform. The scope of use of the license shall be at least the United

             States.

       2.    The agreement shall include a private label ticketing agreement pursuant

             to which Ticketmaster shall provide private label ticketing services to the



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                      Ticketmaster Host Platform Acquirer for a period of no more than five

                      years from the date of execution of the license. The private label ticketing

                      agreement shall be on such reasonable terms and conditions that will

                      enable the Ticketmaster Host Platform Acquirer to compete effectively

                      against Ticketmaster to secure contracts for the provision of Primary

                      Ticketing Services. The private label ticketing agreement shall give the

                      Ticketmaster Host Platform Acquirer all control over the ticketing fees

                      charged individual consumers or clients of the Ticketmaster Host Platform

                      Acquirer for tickets sold pursuant to the agreement and Defendants shall

                      have no right or ability to set these ticketing fees. Ticketmaster shall, at

                      the request of the Ticketmaster Host Platform Acquirer, post on the main

                      Ticketmaster public website links to events sold under the private label

                      ticketing agreement, subject to reasonable, non-discriminatory, and

                      customary terms and conditions. Ticketmaster shall customize a separate

                      website for the Ticketmaster Host Platform Acquirer with branding, look,

                      and feel to be determined by the Ticketmaster Host Platform Acquirer.

                      The private label ticketing services as described in this Section shall be

                      operational within six months from the date that the binding agreement to

                      license Ticketmaster Host Platform becomes effective.

       B.     Defendants shall implement the Ticketmaster Host Platform binding agreement

required by Section IV.A and any resulting Ticketmaster Host Platform license in a manner

consistent with the terms of Section IV.A. Defendants shall comply with the terms of the

Ticketmaster Host Platform binding agreement required by Section IV.A and any resulting



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Ticketmaster Host Platform license, provided that nothing in the Ticketmaster Host Platform

binding agreement or resulting Ticketmaster Host Platform license can relieve Defendants of any

obligations imposed by this Amended Final Judgment.

       C.      Defendants shall, as soon as possible, but within one business day after

completion of the relevant event, notify the United States and Plaintiff States of: (1) the effective

date of the Merger and (2) the effective date of the binding agreement to license to the

Ticketmaster Host Platform Acquirer.

       D.      If the Ticketmaster Host Platform Acquirer exercises its option to license the

Ticketmaster Host Platform, Defendants shall waive any non-compete agreements that would

prevent any employee of Defendants whose primary responsibility is the development or

operation of the Ticketmaster Host Platform from joining the Ticketmaster Host Platform

Acquirer.

       E.      Defendants are ordered and directed, concurrently with the closing of the Merger,

to enter into a Letter of Intent to divest Paciolan to Comcast-Spectacor in a manner consistent

with this Amended Final Judgment. Within sixty (60) calendar days of closing the Merger,

Defendants shall complete the divestiture of Paciolan in a manner consistent with this Amended

Final Judgment to Comcast-Spectacor or an alternative Acquirer acceptable to the United States,

in its sole discretion, after consultation with Plaintiff States. Defendants agree to use their best

efforts to divest the Divestiture Assets as expeditiously as possible.

       F.      Defendants shall provide the United States and the Paciolan Acquirer information

relating to the personnel involved in the production, operation, development and sale of Paciolan

at any time since Ticketmaster acquired Paciolan to enable the Paciolan Acquirer to make offers

of employment. Defendants will not interfere with any negotiations by the Paciolan Acquirer to



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employ any defendant employee whose primary responsibility is the production, operation,

development, and sale of Paciolan, and shall waive any non-compete agreements that would

prevent any such employee from joining the Paciolan Acquirer. Nothing in this Section shall

prohibit defendants from making offers of continued employment to, continuing to employ, or

continuing to use the services of any of their employees, including personnel involved in the

production, operation, development and marketing of Paciolan and its ticketing system, subject

to the overarching limitation that the agreement to sell Paciolan to the Paciolan Acquirer must

ensure that the Paciolan Acquirer will be able to adequately staff Paciolan in a manner that

enables the Paciolan Acquirer to successfully compete as a provider of Primary Ticketing

Services, as determined by United States in its sole discretion. In addition, nothing in this Section

shall prohibit defendants from maintaining any reasonable restrictions on the disclosure by an

employee who accepts an offer of employment with the Paciolan Acquirer of the defendants’

proprietary non-public information that is (1) not otherwise required to be disclosed by this

Amended Final Judgment, (2) related solely to the defendants’ businesses and clients, and (3) not

related to the production, operation, development, and marketing of Paciolan and its ticketing

system.

       G.      Defendants shall permit the Paciolan Acquirer to have reasonable access to

personnel and to make inspections of the physical facilities of Paciolan; access to any and all

environmental, zoning, and other permit documents and information; access to any and all

financial, operational, or other documents and information customarily provided as part of a due

diligence process.

       H.      Defendants shall warrant to the Paciolan Acquirer that each asset it acquires will

be operational on the date of sale.



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        I.      Defendants shall warrant to the Paciolan Acquirer that there are no material

defects in the environmental, zoning, or other permits pertaining to the operation of Paciolan,

and that following the sale of Paciolan, defendants will not undertake, directly or indirectly, any

challenges to the environmental, zoning, or other permits relating to the operation of Paciolan.

        J.      Defendants shall not take any action that will impede in any way the permitting,

operation, use, or divestiture of the Divestiture Assets.

        K.      Unless the United States otherwise consents in writing, after consultation with

Plaintiff States, the divestitures pursuant to Section IV of this Amended Final Judgment shall

include the entire Divestiture Assets, and shall be accomplished in such a way as to satisfy the

United States, in its sole discretion, after consultation with Plaintiff States, that the Divestiture

Assets can and will be used by the Acquirer(s) as part of a viable, ongoing business, engaged in

providing Primary Ticketing Services. Divestiture of the Divestiture Assets may be made to one

or more Acquirers, provided that in each instance it is demonstrated to the sole satisfaction of the

United States, after consultation with Plaintiff States, that the Divestiture Assets will remain

viable and the divestiture of such assets will remedy the competitive harm alleged in the

Complaint. The divestitures, whether pursuant to Section IV or Section V of this Amended Final

Judgment,

                1.      shall be made to an Acquirer(s) that, in the United States’ sole judgment,

                        after consultation with Plaintiff States, has the intent and capability

                        (including the necessary managerial, operational, technical and financial

                        capability) of competing effectively in the business of providing Primary

                        Ticketing Services; and




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                   2.     shall be accomplished so as to satisfy the United States, in its sole

                          discretion, after consultation with Plaintiff States, that none of the terms of

                          any agreement between an Acquirer(s) and Defendants give Defendants

                          the ability unreasonably to raise the Acquirer’s costs, to lower the

                          Acquirer’s efficiency, or otherwise to interfere in the ability of the

                          Acquirer to compete effectively.

                           V. Appointment of Trustee to Effect Divestiture

        A.         If Defendants have not divested Paciolan as specified in Section IV.E, defendants

shall notify the United States of that fact in writing. Upon application of the United States, the

Court shall appoint a trustee selected by the United States and approved by the Court to divest

Paciolan in a manner consistent with this Amended Final Judgment. Defendants consent to

appointment of a trustee prior to entry of this Amended Final Judgment if Paciolan has not been

divested within the time periods provided in Section IV.E.

        B.         After the appointment of a trustee becomes effective, only the trustee shall have

the right to sell Paciolan. The trustee shall have the power and authority to accomplish the

divestiture to an Acquirer acceptable to the United States, after consultation with Plaintiff States,

at such cash price and on such terms as are then obtainable upon reasonable effort by the trustee,

subject to the provisions of Sections IV, V, and VI of this Amended Final Judgment, and shall

have such other powers as this Court deems appropriate.

        C.         Subject to Section V.E of this Amended Final Judgment, the trustee may hire at

the cost and expense of defendants any investment bankers, attorneys, or other agents, who shall

be solely accountable to the trustee, reasonably necessary in the trustee’s judgment to assist in

the divestiture.



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       D.      Defendants shall not object to a sale by the trustee on any ground other than the

trustee’s malfeasance. Any such objections by defendants must be conveyed in writing to the

United States and the trustee within ten (10) calendar days after the trustee has provided the

notice required under Section VI.

       E.      The trustee shall serve at the cost and expense of defendants, on such terms and

conditions as the United States approves, and shall account for all monies derived from the sale

of the assets sold by the trustee and all costs and expenses so incurred. After approval by the

Court of the trustee’s accounting, including fees for its services and those of any professionals

and agents retained by the trustee, all remaining money shall be paid to defendants and the trust

shall then be terminated. The compensation of the trustee and any professionals and agents

retained by the trustee shall be reasonable in light of the value of Paciolan and based on a fee

arrangement providing the trustee with an incentive based on the price and terms of the

divestiture and the speed with which it is accomplished, but timeliness is paramount.

       F.      Defendants shall use their best efforts to assist the trustee in accomplishing the

required divestiture. The trustee and any consultants, accountants, attorneys, and other persons

retained by the trustee shall have full and complete access to the personnel, books, records, and

facilities of the business to be divested, including any information provided to the United States

during its investigation of the merger related to the business to be divested, and defendants shall

develop financial and other information relevant to such business as the trustee may reasonably

request, subject to reasonable protection for trade secret or other confidential research,

development, or commercial information. Defendants shall take no action to interfere with or to

impede the trustee’s accomplishment of the divestiture.




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       G.      After its appointment, the trustee shall file monthly reports with the United States,

Plaintiff States, and the Court setting forth the trustee’s efforts to accomplish the divestiture

ordered under this Amended Final Judgment. To the extent such reports contain information that

the trustee deems confidential, such reports shall not be filed in the public docket of the Court.

Such reports shall include the name, address, and telephone number of each person who, during

the preceding month, made an offer to acquire, expressed an interest in acquiring, entered into

negotiations to acquire, or was contacted or made an inquiry about acquiring, any interest in

Paciolan, and shall describe in detail each contact with any such person. The trustee shall

maintain full records of all efforts made to divest Paciolan.

       H.      If the trustee has not accomplished the divestiture ordered under this Amended

Final Judgment within six (6) months after its appointment, the trustee shall promptly file with

the Court a report setting forth (1) the trustee’s efforts to accomplish the required divestiture, (2)

the reasons, in the trustee’s judgment, why the required divestiture has not been accomplished,

and (3) the trustee’s recommendations. To the extent such reports contain information that the

trustee deems confidential, such reports shall not be filed in the public docket of the Court. The

trustee shall at the same time furnish such report to the United States which shall have the right

to make additional recommendations consistent with the purpose of the trust. The Court

thereafter shall enter such orders as it shall deem appropriate to carry out the purpose of the

Amended Final Judgment, which may, if necessary, include extending the trust and the term of

the trustee’s appointment by a period requested by the United States.

                                VI. Notice of Proposed Divestiture

       A.      Within two (2) business days following execution of a definitive divestiture

agreement, defendants shall notify the United States and Plaintiff States of any proposed



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divestiture required by Section IV of this Amended Final Judgment. Within two (2) business

days following execution of a definitive divestiture agreement, the trustee shall notify the United

States and Plaintiff States of any proposed divestiture required by Section V of this Amended

Final Judgment. The notice shall set forth the details of the proposed divestiture and list the

name, address, and telephone number of each person not previously identified who offered or

expressed an interest in or desire to acquire any ownership interest in Paciolan, together with full

details of the same.

       B.      Within fifteen (15) calendar days of receipt by the United States and Plaintiff

States of such notice, the United States may request from defendants, the proposed Acquirer(s),

any other third party, or the trustee if applicable, additional information concerning the proposed

divestiture, the proposed Acquirer(s), and any other potential Acquirer. Defendants and the

trustee shall furnish any additional information requested within fifteen (15) calendar days of the

receipt of the request, unless the parties shall otherwise agree.

       C.      Within thirty (30) calendar days after receipt of the notice or within twenty (20)

calendar days after the United States and Plaintiff States has been provided the additional

information requested from defendants, the proposed Acquirer(s), any third party, and the

trustee, whichever is later, the United States shall provide written notice to defendants and the

trustee, if there is one, stating whether or not it objects to the proposed divestiture. If the United

States, after consultation with Plaintiff States, provides written notice that it does not object, the

divestiture may be consummated, subject only to defendants’ limited right to object to the sale

under Section V.C of this Amended Final Judgment. Absent written notice that the United States

does not object to the proposed Acquirer(s) or upon objection by the United States, a divestiture

proposed under Section IV or Section V shall not be consummated. Upon objection by



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defendants under Section V.D, a divestiture proposed under Section V shall not be consummated

unless approved by the Court.

                                           VII. Financing

       Defendants shall not finance all or any part of any purchase made pursuant to Section IV

or V of this Amended Final Judgment.

                                        VIII. Hold Separate

       Until the divestiture required by this Amended Final Judgment has been accomplished,

defendants shall take all steps necessary to comply with the Hold Separate Stipulation and Order

entered by this Court. Defendants shall take no action that would jeopardize the divestiture

ordered by this Court.

  IX. Anti-Retaliation Provision and Other Provisions Designed to Promote Competition

       A.      Defendants shall not:

               1.        Retaliate against a Venue Owner because it is known to Defendants that

                         the Venue Owner is or is contemplating contracting with a company other

                         than Defendants for Primary Ticketing Services;

               2.        Condition or threaten to Condition the Provision of Live Entertainment

                         Events to a Venue Owner based on that Venue Owner refraining from

                         contracting with a company other than Defendants for Primary Ticketing

                         Services. For the avoidance of doubt, this provision prohibits Defendants

                         from threatening to withhold the Provision of Live Entertainment Events if

                         a Venue decides to contract with a company other than Defendants for

                         Primary Ticketing Services; or




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               3.      Condition or threaten to Condition the provision of Primary Ticketing

                       Services to a Venue Owner based on that Venue Owner refraining from

                       contracting with a company other than Defendants for the Provision of

                       Live Entertainment Events.

       For the avoidance of doubt, Section IX prohibits Defendants from Conditioning,

Retaliating, or threatening to Condition with respect to the provision of one or more Live

Entertainment Events. Live Nation waives any argument that this Amended Final Judgment only

prohibits Retaliation or Conditioning with respect to all Live Nation content. Particular conduct

may violate more than one provision of this Amended Final Judgment, e.g., Sections IX.A.1. and

IX.A.2. of this Amended Final Judgment are not mutually exclusive.

       Nothing in this Section prevents Defendants from bundling their services and products in

any combination or from exercising their own business judgment in whether and how to pursue,

develop, expand, or compete for any ticketing, venue, promotions, artist management, or any

other business, so long as Defendants do so in a manner that is not inconsistent with the

provisions of this Section.

       Evidence that Defendants do or do not (a) bid for, contract with, win, or retain a venue,

artist, or promoter as a client, and/or (b) promote a show or shows in particular buildings or

group of buildings (even where similar shows historically have been promoted in those

buildings) is not alone sufficient to establish, or create a presumption of, a violation of this

Section. For the avoidance of doubt, Live Nation waives any argument that Plaintiffs must

identify particular shows that have been withheld in order to prevail on a claim of Retaliation.

       B.      Defendants shall not disclose to any Covered Employee any Client Ticketing

Data. Defendants however: (1) may disclose Client Ticketing Data concerning a specific event to



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any Covered Employee involved in the promotion of that event or the management of the artist

who performed at that event, if it does so on the same terms it generally provides such

information to other promoters or artist managers not affiliated with Defendants; (2) may

disclose Client Ticketing Data to an Exempted Employee who requires the information in order

to perform his or her job function(s); provided however, that such Exempted Employee may not

use Client Ticketing Data to perform any job function(s) that primarily involve(s) the day-to-day

operation or management of Defendants’ venues, concert promotions, or artist management

services; and (3) may disclose Client Ticketing Data to any Defendant employee where so

required by law, government regulation, legal process, or court order, so long as such disclosure

is limited to fulfillment of that purpose.

       C.      If any client of Defendants’ primary ticketing services chooses not to renew a

contract for Primary Ticketing Services with Defendants for some or all of its venues, upon the

expiration of that contract and the written request of the client, Defendants shall within forty-five

(45) days provide the client with a complete copy of all Client Ticketing Data and all Ticket

Buyer Data historically maintained by Defendants for such venue(s) in the ordinary course of

business, in a form that is reasonably usable by the client. Nothing in this provision shall be read

to: (1) alter any rights Defendants would otherwise have to Client Ticketing Data or Ticket

Buyer Data pursuant to the Primary Ticketing Services contract with the client, and/or its

historical custom, practice, and course of dealing with the client; or (2) limit any rights the client

would otherwise have to its Client Ticketing Data or Ticket Buyer Data pursuant to the Primary

Ticketing Services contract with Defendants and/or its historical custom, practice, and course of

dealing with Defendants. Defendants shall maintain Client Ticketing Data and Ticket Buyer Data




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on behalf of its clients for no less than three (3) years. This provision only applies to contracts

for Primary Ticketing Services in effect prior to the entry of this Amended Final Judgment.

                                            X. Affidavits

       A.      Within twenty (20) calendar days of the filing of the Complaint in this matter, and

every thirty (30) calendar days thereafter until the divestitures have been completed under

Section IV or Section V, defendants shall deliver to the United States and Plaintiff States an

affidavit as to the fact and manner of its compliance with Section IV or Section V of this

Amended Final Judgment. Each such affidavit shall include the name, address, and telephone

number of each person who, during the preceding thirty (30) calendar days, made an offer to

acquire, expressed an interest in acquiring, entered into negotiations to acquire, or was contacted

or made an inquiry about acquiring, any interest in the Divestiture Assets, and shall describe in

detail each contact with any such person during that period. Each such affidavit shall also include

a description of the efforts defendants have taken to solicit buyers for the Divestiture Assets, and

to provide required information to prospective Acquirers, including the limitations, if any, on

such information. Assuming the information set forth in the affidavit is true and complete, any

objection by the United States, after consultation with Plaintiff States, to information provided

by defendants, including limitation on information, shall be made within fourteen (14) calendar

days of receipt of such affidavit.

       B.      Every two (2) months prior to the private label ticketing agreement described in

Section IV.A.2 becoming operational, and every six (6) months thereafter, defendants shall

deliver to the United States and Plaintiff States an affidavit that describes in reasonable detail all

actions defendants have taken and all steps defendants have implemented on an ongoing basis to

comply with Section IV.A and the terms of Ticketmaster Host Platform binding agreement.



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       C.      Defendants shall, in addition, deliver to the United States and Plaintiff States an

affidavit describing any revised or amended agreements with the Ticketmaster Host Platform

Acquirer relating to the agreement required by Section IV.A. Such notice shall be delivered to

the United States and Plaintiff States at least fifteen (15) calendar days prior to the effective date

of the revised or amended agreement and Defendants shall not implement any amended

agreement if the United States, after consultation with Plaintiff States, objects during the fifteen

(15) day notice period.

       D.      Within twenty (20) calendar days of the filing of the Complaint in this matter,

defendants shall deliver to the United States and Plaintiff States an affidavit that describes in

reasonable detail all actions defendants have taken and all steps defendants have implemented on

an ongoing basis to comply with Section VIII of this Amended Final Judgment. Defendants shall

deliver to the United States and Plaintiff States an affidavit describing any changes to the efforts

and actions outlined in defendants’ earlier affidavits filed pursuant to this section within fifteen

(15) calendar days after the change if implemented.

       E.      Defendants shall keep all records of all efforts made to preserve and divest the

Divestiture Assets until one year after such divestiture has been completed.

                                    XI. Compliance Inspection

       A.      For purposes of determining or securing compliance with this Amended Final

Judgment, or of determining whether the Amended Final Judgment should be modified or

vacated, and subject to any legally recognized privilege, from time to time duly authorized

representatives of the United States or an Interested Plaintiff State, including consultants and

other persons retained by the United States or an Interested Plaintiff State, shall, upon written

request of an authorized representative of the Assistant Attorney General in charge of the



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Antitrust Division and/or of any Interested Plaintiff State, and on reasonable notice to

defendants, be permitted:

               1.      access during defendants’ office hours to inspect and copy, or at the option

                       of the United States or an Interested Plaintiff State, to require defendants

                       to provide hard copy or electronic copies of, all books, ledgers, accounts,

                       records, data, and documents in the possession, custody, or control of

                       defendants, relating to any matters contained in this Amended Final

                       Judgment; and

               2.      to interview, either informally or on the record, defendants’ officers,

                       employees, or agents, who may have their individual counsel present,

                       regarding such matters. The interviews shall be subject to the reasonable

                       convenience of the interviewee and without restraint or interference by

                       defendants.

       B.      Upon the written request of an authorized representative of the Assistant Attorney

General in charge of the Antitrust Division and/or an Interested Plaintiff State, defendants shall

submit written reports, under oath if requested, relating to any of the matters contained in this

Amended Final Judgment as may be requested. Written reports authorized under this paragraph

may, at the sole discretion of the United States and/or of any Interested Plaintiff State, require

Defendants to conduct, at Defendants’ cost, an independent audit or analysis relating to any of

the matters contained in this Amended Final Judgment.

       C.      No information or documents obtained by the means provided in this section shall

be divulged by the United States or an Interested Plaintiff State to any person other than an

authorized representative of the executive branch of the United States, or of the Attorney



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General’s Office of an Interested Plaintiff State, except in the course of legal proceedings to

which any Plaintiff is a party (including grand jury proceedings), or for the purpose of securing

compliance with this Amended Final Judgment, or as otherwise required by law.

        D.      If at the time information or documents are furnished by defendants to the United

States or an Interested Plaintiff State, defendants represent and identify in writing the material in

any such information or documents to which a claim of protection may be asserted under Rule

26(c)(1)(G) of the Federal Rules of Civil Procedure, and defendants mark each pertinent page of

such material, “Subject to claim of protection under Rule 26(c)(1)(G) of the Federal Rules of

Civil Procedure,” then the United States or the Interested Plaintiff State shall give defendants ten

(10) calendar days’ notice prior to divulging such material in any legal proceeding (other than a

grand jury proceeding).

        E.      “Interested Plaintiff State” as used herein means the state in which a potential

violation of this Amended Final Judgment is believed to have occurred and any state within 125

miles of that venue. For illustrative purposes only, the State of California would be an Interested

Plaintiff State with respect to a potential violation at a venue in Stateline, Nevada, but not as to

potential violations at a venue in Portland, Oregon.

                                          XII. Notification

        Unless such transaction is otherwise subject to the reporting and waiting period

requirements of the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, 15

U.S.C. § 18a (the “HSR Act”), defendants, without providing advance notification to the United

States and Plaintiff States, shall not directly or indirectly acquire any assets of or any interest,

including any financial, security, loan, equity or management interest, in any person that, at any

time during the twelve (12) months immediately preceding such acquisition, was engaged in the



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United States in providing Primary Ticketing Services during the term of this Amended Final

Judgment.

          Such notification shall be provided to the United States and Plaintiff States in the same

format as, and per the instructions relating to the Notification and Report Form set forth in the

Appendix to Part 803 of Title 16 of the Code of Federal Regulations as amended. Notification

shall be provided at least thirty (30) calendar days prior to acquiring any such interest, and shall

include, beyond what may be required by the applicable instructions, the names of the principal

representatives of the parties to the agreement who negotiated the agreement, and any

management or strategic plans discussing the proposed transaction. If within the 30-day period

after notification, representatives of the United States make a written request for additional

information, defendants shall not consummate the proposed transaction or agreement until

twenty (20) calendar days after submitting all such additional information. Early termination of

the waiting periods in this paragraph may be requested and, where appropriate, granted in the

same manner as is applicable under the requirements and provisions of the HSR Act and rules

promulgated thereunder. This Section shall be broadly construed and any ambiguity or

uncertainty regarding the filing of notice under this Section shall be resolved in favor of filing

notice.

          For purposes of this Amended Final Judgment, any notice or other communication

required to be provided to Plaintiffs shall be sent to the person at the address and emails set forth

below (or such other addresses as a Plaintiff may specify in writing to Defendants):

          United States
          Owen Kendler
          Chief
          Media, Entertainment, and Professional Services Section
          U.S. Department of Justice
          Antitrust Division

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 Arizona Attorney General’s Office
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 Max.Miller@ag.iowa.gov

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 Tim.D.Nord@doj.state.or.us

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 Antitrust Section
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 Rhode Island Office of the Attorney General
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 State of Wisconsin Department of Justice
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       Washington
       Paula Pera C.
       Assistant Attorney General, Antitrust Division
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       Seattle, WA 98104
       paula.pera@atg.wa.gov

                                     XIII. No Reacquisition

       A.      Defendants may not reacquire any part of the Divestiture Assets during the term

of this Amended Final Judgment.

       B.      Following the expiration of the private label ticketing agreement with the

Ticketmaster Host Platform Acquirer required by Section IV.A.2: (1) Defendants shall not

provide Primary Ticketing Services to any venues in North America for which, by virtue of an

ownership interest, the Ticketmaster Host Platform Acquirer controls the rights to select the

Primary Ticketing Services provider; and (2) for all other venues in North America, Defendants

shall not provide Primary Ticketing Services on behalf of or pursuant to a ticketing contract with

the Ticketmaster Host Platform Acquirer. Nothing in this Section shall prevent Defendants from:

(1) competing to provide Primary Ticketing Services to venues (including such venues managed

by the Ticketmaster Host Platform Acquirer) other than those for which, by virtue of an

ownership interest, the Ticketmaster Host Platform Acquirer controls the rights to select the

Primary Ticketing Services provider; and (2) providing Primary Ticketing Services to artist fan

clubs in venues owned, operated, or managed by the Ticketmaster Host Platform Acquirer.

                                 XIV. Retention of Jurisdiction

       This Court retains jurisdiction to enable any party to this Amended Final Judgment to

apply to this Court at any time for further orders and directions as may be necessary or




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appropriate to carry out or construe this Amended Final Judgment, to modify any of its

provisions, to enforce compliance, and to punish violations of its provisions.

                          XV. Expiration of Amended Final Judgment

       Sections I, II, III, IX, XI, XII, XIII.A., XIV, XV, XVI, XVII, XVIII, and XIX of this

Amended Final Judgment are extended and shall expire on December 31, 2025, unless the Court

grants further extension. All other provisions in this Amended Final Judgment shall expire on

July 30, 2020.

                                XVI. Public Interest Determination

       Entry of this Amended Final Judgment is in the public interest. The parties previously

complied with the requirements of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16,

including making copies available to the public of the Final Judgment entered by the Court on

July 30, 2010 (the “2010 Final Judgment”), the Competitive Impact Statement, and any

comments thereon and the United States’ responses to comments. Based upon the record before

the Court, entry of this Amended Final Judgment is in the public interest.

                                  XVII. Compliance Provisions

       A.        Appointment of an Independent Monitoring Trustee

                 1.    Upon application of the United States, after consultation with Plaintiff

                       States and with Defendants, the Court will appoint an independent

                       Monitoring Trustee selected by the United States and approved by the

                       Court.

                 2.    The Monitoring Trustee will have the power and authority to monitor

                       Defendants’ compliance with the terms of this Amended Final Judgment

                       and will have other powers as the Court deems appropriate. If the



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             Monitoring Trustee determines that any violation of this Amended Final

             Judgment has occurred, the Monitoring Trustee shall promptly report its

             findings and recommend an appropriate remedy to the United States,

             which, in its sole discretion, can accept, modify, or reject a

             recommendation to pursue a remedy. The United States will provide to

             Plaintiff States a copy of any report provided by the Monitoring

             Trustee. Nothing in this provision prevents any Plaintiff State from

             pursuing its own remedy for violations of the Amended Final Judgment.

       3.    Defendants may not object to actions taken by the Monitoring Trustee in

             fulfillment of the Monitoring Trustee’s responsibilities pursuant to this

             Amended Final Judgment or any other Order of the Court on any ground

             other than malfeasance by the Monitoring Trustee. Objections by

             Defendants to actions taken by the Monitoring Trustee must be conveyed

             in writing to the United States and the Monitoring Trustee within ten

             calendar days of the Monitoring Trustee’s action that gives rise to

             Defendants’ objection.

       4.    The Monitoring Trustee will serve at the cost and expense of Defendants

             as detailed in a written agreement, on terms and conditions, including

             terms and conditions governing confidentiality requirements and conflict-

             of-interest certifications, that are approved by the United States after

             consultation with Defendants.

       5.    The Monitoring Trustee may hire, at the cost and expense of Defendants,

             agents or consultants, including investment bankers, attorneys, and



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             accountants, reasonably necessary in the Monitoring Trustee’s judgment

             to assist with the Monitoring Trustee’s duties. Agents or consultants will

             be accountable solely to the Monitoring Trustee and will serve on terms

             and conditions, including terms and conditions governing confidentiality

             requirements and conflict-of-interest certifications, that are approved by

             the United States after consultation with Defendants.

       6.    The compensation of the Monitoring Trustee and agents or consultants

             retained by the Monitoring Trustee must be on reasonable and customary

             terms commensurate with the individuals’ experience and responsibilities.

             If the Monitoring Trustee and Defendants are unable to reach agreement

             on the Monitoring Trustee’s compensation or other terms and conditions

             of engagement within twenty-one calendar days of the appointment of the

             Monitoring Trustee, the United States, in its sole discretion, may take

             appropriate action, including by making a recommendation to the Court.

             Within three business days of hiring an agent or consultant, the

             Monitoring Trustee must provide written notice of the hiring and the rate

             of compensation to Defendants and the United States.

       7.    The Monitoring Trustee must account for all costs and expenses incurred.

       8.    Defendants must use their best efforts to assist the Monitoring Trustee to

             monitor Defendants’ compliance with their obligations under this

             Amended Final Judgment. The Monitoring Trustee and agents or

             consultants retained by the Monitoring Trustee must, subject to protections

             for trade secrets, other confidential research, development, or commercial



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              information, and any applicable privileges, have full and complete access

              to all personnel, books, records, and facilities relating to compliance with

              this Amended Final Judgment. Defendants may not take any action to

              interfere with or to impede the Monitoring Trustee’s accomplishment of

              its responsibilities.

       9.     The Monitoring Trustee must investigate and report on Defendants’

              compliance with this Amended Final Judgment. The Monitoring Trustee

              must provide periodic reports to Plaintiffs setting forth Defendants’ efforts

              to comply with Defendants’ obligations under this Amended Final

              Judgment. The United States, in its sole discretion, will set the frequency

              of the Monitoring Trustee reports.

       10.    The Monitoring Trustee will serve until the expiration of this Amended

              Final Judgment.

       11.    If the United States, after consultation with Plaintiff States, determines

              that the Monitoring Trustee is not acting diligently or in a reasonably cost-

              effective manner, the United States may recommend that the Court

              appoint a substitute.

 B.    Antitrust Compliance Officer.

       1.     Within twenty-one days of entry of this Amended Final Judgment,

              Defendants shall appoint an Antitrust Compliance Officer who is an

              internal employee or officer of one of Defendants, and identify to

              Plaintiffs the Antitrust Compliance Officer’s name, business address,

              telephone number, and email address. Within forty-five days of a vacancy



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               in the Antitrust Compliance Officer position, Defendants shall appoint a

               replacement, and shall identify to Plaintiffs the replacement Antitrust

               Compliance Officer’s name, business address, telephone number, and

               email address. In all events, Defendants’ appointment of any Antitrust

               Compliance Officer is subject to the approval of the United States, in its

               sole discretion.

       2.      The Antitrust Compliance Officer shall have the following minimum

               qualifications:

               a.       be an active member in good standing of the bar in any U.S.

            jurisdiction; and

               b.       have at least five years’ experience in legal practice, including

            experience with antitrust, regulatory or compliance matters.

       3.      The Antitrust Compliance Officer shall, directly or through the employees

               or counsel working under the Antitrust Compliance Officer’s authority

               and direction:

               a.       Within twenty-one days after the Antitrust Compliance Officer’s

            appointment, furnish to all of Defendants’ Management and Relevant

            Employees a copy of this Amended Final Judgment;

               b.       Within thirty days after the Antitrust Compliance Officer’s

            appointment, in a manner to be devised by Defendants and approved by the

            United States, provide Defendants’ Management and Relevant Employees

            reasonable notice of the meaning and requirements of this Amended Final

            Judgment;



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                     c.      Twice during the first year, then annually thereafter, brief

                  Defendants’ Management and Relevant Employees on the meaning and

                  requirements of this Amended Final Judgment, with written materials for each

                  briefing to be approved by the United States in its sole discretion;

                     d.      Brief any person who succeeds a person identified as Management

                  or a Relevant Employee within sixty days of such succession;

                     e.      Obtain from each person designated as Management or a Relevant

                  Employee, within thirty days of that person’s receipt of this Amended Final

                  Judgment, a certification that the person (i) has read and understands and

                  agrees to abide by the terms of this Amended Final Judgment; (ii) is not aware

                  of any violation of this Amended Final Judgment that has not been reported to

                  Defendants; and (iii) understands that failure to comply with this Amended

                  Final Judgment may result in an enforcement action for civil or criminal

                  contempt of court; and

                     f.      Annually communicate to Defendants’ Management and Relevant

                  Employees that they may disclose to the Antitrust Compliance Officer or

                  Monitoring Trustee, without reprisal or adverse consequence for such

                  disclosure, information concerning any violation or potential violation of this

                  Amended Final Judgment or the U.S. antitrust laws by Defendants.

       C.     Venue Disclosure. Defendants shall provide notice and a copy of this Amended

Final Judgment, in a form and manner to be proposed by Defendants and approved by the United

States in its sole discretion, to: (1) every Venue Owner for whom Ticketmaster provides Primary

Ticketing Services, or with whom Ticketmaster is negotiating or discussing the provision of



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Primary Ticketing Services, within thirty days of entry of this Amended Final Judgment; and (2)

every Venue Owner at the beginning of any negotiation with Ticketmaster and/or Live Nation

related in whole or in part to Primary Ticketing Services. Defendants shall provide Plaintiffs

with its proposed notice, including the list of recipients, within ten days of the filing of this

Amended Final Judgment. The notice shall include an explanation of the requirements of Section

IX of this Amended Final Judgment, a statement encouraging Venue Owners to contact the

Department of Justice and any Plaintiff State if they are or become aware of any potential

violations of this Amended Final Judgment, and a statement waiving any contractual obligation

the venue may have to provide notice to Live Nation or Ticketmaster about any such contacts.

       D.     Reporting, Investigation, and Certification Requirements

              1.      Defendants shall:

                              a.      Upon Management or the Antitrust Compliance Officer

                   learning of any violation or potential violation of any provision of this

                   Amended Final Judgment, (i) promptly notify the Monitoring Trustee and take

                   appropriate action to investigate, and in the event of a violation, terminate or

                   modify the activity so as to comply with this Amended Final Judgment, (ii)

                   maintain all documents related to any violation or potential violation of this

                   Amended Final Judgment for a period of five years or the duration of this

                   Amended Final Judgment, whichever is shorter, and (iii) maintain, and furnish

                   to Plaintiffs upon request, a log of (a) all such documents for which

                   Defendants claim protection under the attorney-client privilege or the attorney

                   work product doctrine, and (b) all potential and actual violations, even if no

                   documentary evidence regarding the violations exist;



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                     b.      Within seven days of Management or the Antitrust

          Compliance Officer learning of any violation or potential violation of any

          provision of this Amended Final Judgment, notify Plaintiffs and the

          Monitoring Trustee of the violation or potential violation;

                     c.      Within thirty days of Management or the Antitrust

          Compliance Officer learning of any violation or potential violation of any

          provision of this Amended Final Judgment, provide to Plaintiffs and the

          Monitoring Trustee a statement describing the violation or potential violation,

          which shall include a description of any communications constituting the

          violation or potential violation, including the date and place of the

          communication, the persons involved, and the subject matter of the

          communication;

                     d.      Establish a whistleblower protection policy, which provides

          that any employee may disclose, without reprisal or adverse consequence for

          such disclosure, to the Antitrust Compliance Officer or the Monitoring

          Trustee information concerning any violation or potential violation by the

          Defendants of this Amended Final Judgment or the U.S. antitrust laws;

                     e.      Have Live Nation’s CEO certify in writing to Plaintiffs 180

          days after entry of this Amended Final Judgment, and thereafter annually on

          the anniversary date of the entry of this Amended Final Judgment, that

          Defendants have complied with the provisions of this Amended Final

          Judgment; and




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                              f.       Maintain and produce to Plaintiffs upon request: (i) a list

                   identifying all employees having received the compliance training required

                   under Sections XVII.B.3.c and XVII.B.3.d of this Amended Final Judgment,

                   and the dates on which the employees received the training; and (ii) copies of

                   all materials distributed as part of the annual antitrust compliance training

                   required under XVII.B.3.c and XVII.B.3.d of this Amended Final Judgment.

                   For all materials requested to be produced pursuant to this paragraph for

                   which Defendants claim protection under the attorney-client privilege or the

                   attorney work product doctrine, Defendants shall furnish to Plaintiffs a

                   privilege log.

                                    XVIII. Future Enforcement

       A.      In any future civil contempt action, any motion to show cause, or any similar civil

action brought by any Plaintiff regarding an alleged violation of this Amended Final Judgment,

Plaintiff(s) may establish a violation of this Amended Final Judgment and the appropriateness of

any remedy therefor by a preponderance of the evidence.

       B.      This Amended Final Judgment should be interpreted to give full effect to the

procompetitive purposes of the antitrust laws and to restore all competition Plaintiffs alleged was

harmed by the challenged conduct in this Amended Complaint. Defendants agree that they may

be held in contempt of, and that the Court may enforce, any provision of this Amended Final

Judgment that, as interpreted by the Court in light of these procompetitive principles and

applying ordinary tools of interpretation, is stated specifically and in reasonable detail, whether

or not it is clear and unambiguous on its face. In any such interpretation, the terms of this

Amended Final Judgment should not be construed against either party as the drafter.



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        C.       Defendants will pay a penalty of $1,000,000 per violation of each enumerated

paragraph of Section IX, as modified, payable to the United States of America.              For the

avoidance of doubt, a single violation for purposes of calculating this penalty refers to any and

all conduct prohibited by this Amended Final Judgment that occurs in relation to a Venue

Owner’s ticketing contract cycle, except that a violation of Section IX.A.1. shall be deemed a

separate violation than a violation of Section IX.A.2. and will be subject to a separate penalty. If,

for example, there are multiple threats to Condition during the same contracting cycle, Live

Nation would pay $1,000,000. If, for example, there are multiple threats to Condition and Live

Nation Retaliates during the same contracting cycle, Live Nation would pay $2,000,000. For the

avoidance of doubt, for these purposes, a new ticketing contract cycle begins when the previous

contract is signed such that a ticketing contract cycle exists at all times for each Venue Owner.

        D.       For a period of four years following the expiration of this Amended Final

Judgment, if any Plaintiff has evidence that a Defendant violated this Amended Final Judgment

before expiration, any Plaintiff may file an action against that Defendant in this Court requesting

that the Court order (1) Defendant to comply with the terms of this Amended Final Judgment for

an additional term of at least four years following the filing of the enforcement action under this

Section, (2) any appropriate contempt remedies, (3) an extension of this Amended Final

Judgment, (4) any additional relief needed to ensure the Defendant complies with the terms of

this Amended Final Judgment, and (5) fees or expenses.

        E.       For future disputes regarding Defendants’ compliance with the terms of this

Amended Final Judgment, the parties may agree that any such dispute may be referred to a third-

party arbiter.




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                                      XIX. Fees and Costs

       Defendants shall pay the United States its reasonable costs and attorney fees incurred in

investigating Defendants’ conduct and in connection with its investigation of violation of the

2010 Final Judgment, in an amount of $3 million, to be paid within 60 days of entry of this

Amended Final Judgment.




Date: -DQXDU\

                              Court approval subject to procedures of the Antitrust Procedures
                              and Penalties Act, 15 U.S.C. § 16.


                               ___________________________________

                               United States District Judge




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